                               Case: 1:23-cv-00150-TSB Doc #: 1-1 Filed: 03/16/23 Page: 1 of 4 PAGEID #: 10
                                                          Exhibit A to the Complaint
Location: Cincinnati, OH                                                                                  IP Address: 208.102.125.136
Total Works Infringed: 36                                                                                 ISP: Cincinnati Bell
 Work      Hashes                                                                UTC              Site           Published    Registered   Registration
 1         Info Hash: 7D4A7CA1D1D3C53CA13B10A1443E515B9036CB6C                           01-06-   Blacked        09-17-2022   10-05-2022   PA0002373760
           File Hash:                                                                      2023
           76C1663C6E2EB8A19475499777B513D5E8EE3D37B368D27E5D704D753B83D745            02:25:06
 2         Info Hash: A035AD89D17FFA204EA1669362F8A2B2947F1D32                           01-05-   Blacked        08-03-2019   09-10-2019   PA0002199412
           File Hash:                                                                      2023
           CF5FB70A15A302ADB5C7DC51AA916F5E8F5D7D52373FBEEAB74056948FEF6203            18:48:27
 3         Info Hash: 43895C16236A6AD40F41D1A81D6F469DFD9E4B2D                           01-05-   Blacked        11-20-2022   12-11-2022   PA0002384733
           File Hash:                                                                      2023   Raw
           DF629E1E14C9CBD62202A90F4996C5DE6462B28923D549010F5E936AD768A87A            18:45:38
 4         Info Hash: E12FF3F313842E2F77EC08C5A3D804F608AB1116                           01-05-   Blacked        12-17-2022   01-10-2023   PA0002389619
           File Hash:                                                                      2023
           BE61C07B258B1FCEBBDE344FB23D51C8E6A1AB2FDE7926DB25DA716090CE99BD            18:33:19
 5         Info Hash: D82B3D04FC3C942F5380175F5BD7A953DBFDBE7C                           09-25-   Vixen          01-21-2022   02-14-2022   PA0002335466
           File Hash:                                                                      2022
           E18B9AE8F32CC0841E9389E6353EAF180393E302517BFD010DCA54AC172C2E1C            14:25:35
 6         Info Hash: 3ACD1EECE1081E1CA41E348646481F4D9E28B44E                           09-25-   Vixen          02-04-2022   02-14-2022   PA0002335462
           File Hash:                                                                      2022
           478D6B308D7B444EECEAD5198C28C40247F9B84D3ACABEE6DA17B102831E08E7            14:25:27
 7         Info Hash: 1B02C5FD0BD43D66CA7F1862752B7D33093B13BA                           03-01-   Blacked        12-31-2019   01-27-2020   PA0002223957
           File Hash:                                                                      2022
           8633705E63B8E74B37A5E3E4D917CB9038CB87429F9687CD7E5A0D0887E468B4            04:33:10
 8         Info Hash: 9796CE97D9F29A0EA166C36B58F2F5DA47B36C08                           03-01-   Blacked        01-07-2019   02-02-2019   PA0002155390
           File Hash:                                                                      2022   Raw
           0D0F28FF139BD85DA6671F1D3214C88E7C7EE7339C6B5F6308AECFFDC303E82C            04:21:53
 9         Info Hash: 03C069E6AEB87AFBA7D5C238902F8B37E79B3A47                           03-01-   Tushy          07-25-2019   08-22-2019   PA0002195515
           File Hash:                                                                      2022
           D529C07D0BB9480ACA88916FA1E57CE98498A9620B6923EBD09F31BEF3E2ADB7            04:05:05
 10        Info Hash: E6683078F639AE7A581BCADF96A49BC808143689                           02-17-   Blacked        06-04-2019   07-17-2019   PA0002188309
           File Hash:                                                                      2022
           38205F001C261D5FD79FC2A35134BB96F8E549E9C410643AF6D25CD576A53DA6            05:15:27
 11        Info Hash: A098525E9AFF43231A7DF6BB8EBAE6B031BEA699                           02-17-   Blacked        01-18-2021   02-09-2021   PA0002276148
           File Hash:                                                                      2022   Raw
           24B59DE82823571AA66BC642C6246BB56F743A403833A41BD4536D742034AA60            05:14:27
                           Case: 1:23-cv-00150-TSB Doc #: 1-1 Filed: 03/16/23 Page: 2 of 4 PAGEID #: 11

Work   Hashes                                                             UTC         Site      Published    Registered   Registration
12     Info Hash: D7849F96160CA679A287B837FEFE40DDEA87571B                   02-17-   Blacked   11-06-2019   11-15-2019   PA0002211857
       File Hash:                                                              2022
       0A445E74466B1700F1F7402E2C9F03169006656C8BA6A80CD36958EF9C0589E1    05:14:24
13     Info Hash: 36602A2A8598380F67FF6FCEBD7FCD97ED374F38                   02-17-   Blacked   03-18-2019   04-08-2019   PA0002164883
       File Hash:                                                              2022   Raw
       62688AEF51ECA70C40A82C45825BF0DCE86FBEAA7A4CFFCC5BF4225C15652B8C    05:14:14
14     Info Hash: E401EDC19B0CCB7625B52FEE8B163E03FFF0EF0E                   02-17-   Tushy     11-22-2019   12-03-2019   PA0002232052
       File Hash:                                                              2022
       CFA72EA152DD827C145166E600349017CCEFD9C1FCDA3374115C2BCAD05C0681    04:50:19
15     Info Hash: 29130B960BB428F5974534842026BE29B91A07B1                   02-17-   Vixen     01-24-2020   03-15-2020   PA0002240434
       File Hash:                                                              2022
       5C1F3E6C14913CE175062611F2B092C20291A5F267A30F048ED3EE8533523F71    04:47:46
16     Info Hash: 966AF5D11568D7D5896168F66E882245BA8A5F07                   02-03-   Blacked   01-12-2020   02-04-2020   PA0002225587
       File Hash:                                                              2022   Raw
       13ABD2A124FF486B57001E7FB865A719FBB18B92F74EF38F6CD5ECA9744EBBE2    18:51:52
17     Info Hash: 4577E56ABE4B7F3BA8A72106C4F58220F426B639                   02-03-   Vixen     03-30-2017   06-05-2017   PA0002052862
       File Hash:                                                              2022
       37CFD558D71D865BB724D5696BBD89C3D2B21AB67276C421F661E3BB18299DD4    18:51:40
18     Info Hash: 0616906E5B0D445A8FB469D45908C91D24F6CD2F                   02-03-   Blacked   09-27-2018   11-01-2018   PA0002143428
       File Hash:                                                              2022
       9AC3BBF9185D5F2498389B013DAD21FC070F127E17E3B94B23F09A5C26518E53    18:39:50
19     Info Hash: E3C763DDE1ACCF235D1D2BB1149DE7BD811F4117                   02-02-   Vixen     12-05-2019   12-17-2019   PA0002217671
       File Hash:                                                              2022
       DF979E030B179B3DE05C5F0B62E23D3B9DC99BB2E6ADCCEA6230B50C8730B012    05:49:23
20     Info Hash: D10DD855E1B9F8937F079FA39B40F3730DEE95C4                   02-02-   Slayed    08-26-2021   09-08-2021   PA0002316103
       File Hash:                                                              2022
       83B5920A46DF8C75E436FE2B8FD47589075363F3F545D7F3F2D71EE9DE6BCB91    05:24:05
21     Info Hash: 2775DE102301D97227CE509011E8EE8C9352FC80                   02-01-   Tushy     09-13-2019   10-07-2019   PA0002205470
       File Hash:                                                              2022
       2493CF5F3AA64C9E0042A0D31EED3F6EDC9E23307B67E4AAC431659A24DBB640    04:16:04
22     Info Hash: 2EA0290F13E4A4197E055E913DFCD0B58D85DF2B                   02-01-   Tushy     10-13-2018   11-01-2018   PA0002143435
       File Hash:                                                              2022
       EC41322CC151A4D99BAF9E2F119D58FD2C87A83823E3659EA8958A55159B0325    04:02:38
23     Info Hash: 1494CEA8CDC75CDADDB2BEE7269D14B83E029F06                   01-29-   Blacked   11-01-2021   11-11-2021   PA0002321320
       File Hash:                                                              2022   Raw
       06B7084D1E8EC9E59CF7AB8EF9E2AA97A89A7C4E67457BEFB3EEA34302ADD306    20:45:15
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Work   Hashes                                                             UTC         Site      Published    Registered   Registration
24     Info Hash: 4803A60220DBABF62245910CA920FFFE0E1506FD                   01-25-   Blacked   06-19-2021   07-08-2021   PA0002300660
       File Hash:                                                              2022
       B6B0D56AED3139E3ECCA1BB0C85A139EB08D8072C3CDF453CAF9D9531BF1F6FD    04:30:43
25     Info Hash: AD559A93AA2533CFB6828C5E7564E454DD9C48CC                   01-24-   Blacked   01-03-2022   01-17-2022   PA0002330091
       File Hash:                                                              2022   Raw
       F95115E39D32A0DD0C4949F9B181C0224ED575910E713D70698331A4AD633A54    00:46:31
26     Info Hash: A7F519FC93299A4881937E29BDAA999831F40E73                   01-24-   Blacked   01-10-2022   02-14-2022   PA0002335456
       File Hash:                                                              2022   Raw
       A0593E7AB6115E19EB1296261BD06FE4A861EA822ED0C770A4D625BFF64290DD    00:37:19
27     Info Hash: 024F22E864BFC448DB769B7BC3B2E9994DD77CDA                   01-24-   Blacked   01-17-2022   03-04-2022   PA0002345790
       File Hash:                                                              2022   Raw
       BCD8B2145D148A775F34D7627AB6AB0CB04962149BF9947744432C8A9C7321A8    00:31:25
28     Info Hash: 858B1CEBF1AEDD1213A4C1520F38E7BBA4340ABB                   01-24-   Blacked   01-15-2022   02-14-2022   PA0002335487
       File Hash:                                                              2022
       D168F0B11253A8D44808CE0F4D78EB4F54469D919D8DEE20133AE49A461E68B3    00:31:01
29     Info Hash: BD854768B2F7F60A088E5A249207DEACEE5A7CD0                   01-01-   Vixen     02-13-2019   03-11-2019   PA0002158413
       File Hash:                                                              2022
       447C527955F6E538FE6D150312C4E4B5FF83E1EDF58AD42BE5A743D0481BAC0C    21:12:16
30     Info Hash: B30A24C236439A9B2C65C9234830190BD3026085                   12-28-   Tushy     10-23-2017   12-04-2017   PA0002098018
       File Hash:                                                              2021
       E190CFF045FD226A2DC42A0014C64775CD37FE54BE08F0806F0D3BDE27234259    15:15:31
31     Info Hash: BFEC39E10BE769D52CED88948B3C3B09C55BAE2D                   12-27-   Blacked   01-22-2019   03-24-2019   PA0002183202
       File Hash:                                                              2021   Raw
       FCE98DA6B84054BD9E061465FAA08D7427511E44F411F6E5C127DAFC3B22644C    21:39:03
32     Info Hash: FD6024BEF3762A73A62D6ED2A0473D9631E4AB2D                   12-01-   Tushy     09-05-2021   09-21-2021   PA0002312671
       File Hash:                                                              2021
       E4527D72B244EF3581F2F345D213ED85995D3CA3AEB835822E61F2E526A69B46    05:09:38
33     Info Hash: 2C70F89B75ADFD345928B5439A5CAC9B5C544878                   09-28-   Blacked   11-25-2019   12-09-2019   PA0002216263
       File Hash:                                                              2021   Raw
       C062B003EF1616BD8391F0904F358A200082DDA89F717B1F99E731873DA1BAA2    04:34:46
34     Info Hash: 6682C3BF52A063D0BEDC0F02C82FA6165FB71E72                   02-10-   Tushy     01-24-2021   02-26-2021   PA0002283696
       File Hash:                                                              2021
       337F29D4BB8DF63EBF303D179185181E58420067DE0F9B04182060C651D20512    14:58:09
35     Info Hash: 7F06F0E07A10143EB2C8673FADA7B21358A4AB2D                   11-09-   Blacked   12-01-2019   12-17-2019   PA0002217663
       File Hash:                                                              2020
       8730E641DB888136CD4E9A1EA37C129852A6999082620E5C071F489A6055E333    21:02:45
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Work   Hashes                                                             UTC       Site       Published    Registered   Registration
36     Info Hash: 1BA06FF511877DFA75B32024B4506A7C9BEB8D9C                   04-12- Tushy      01-21-2018   02-20-2018   PA0002104191
       File Hash:                                                              2020
       88AEA3DB9489D065882DCC0A2D3B45A4C0155CF0F942F137A09E67A50BD370D1    19:59:52
